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                            IN THE UNITED STATES DISTRICT COURT

                                    FOR THE DISTRICT OF OREGON

                                        PORTLAND DIVISION


 DRY BULK SINGAPORE PTE. LTD.,

                       Plaintiff,                  No. 3:19-CV-01671-IM

       vs.                                         Admiralty

 AMIS INTEGRITY S.A. and M/V AMIS                  PLAINTIFF DRY BULK SINGAPORE
 INTEGRITY (IMO 9732412) her engines,              PTE. LTD.’S MOTION FOR SUMMARY
 freights, apparel, appurtenances, tackle, etc.,   JUDGMENT ON DEFENDANT’S CLAIM
 in rem.                                           OF WRONGFUL ARREST

                       Defendants.                 REQUEST FOR ORAL ARGUMENT




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                   SUMMARY JUDGMENT ON DEFENDANT’S CLAIM OF WRONGFUL
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                                   LR 7-1 CERTIFICATION

        In accordance with LR 7-1, counsel for plaintiff Dry Bulk Singapore Pte. Ltd. certifies

that they conferred with counsel for defendants about this motion by telephone in a good faith

effort to resolve this dispute.

                                           I. MOTION

        Plaintiff Dry Bulk Singapore PTE. LTD. (“Dry Bulk”) respectfully moves this Court

pursuant to Rule 56 of the Federal Rules of Civil Procedure for an order granting summary

judgment and dismissing the wrongful arrest counterclaim asserted by Amis Integrity S.A.

(“Amis”), by way of a restricted appearance under Supplemental Rule E(8) as claimant to the M/V

AMIS INTEGRITY (the “Vessel”). Dkt. 134. There can be no dispute that Dry Bulk acted

reasonably and upon the advice of counsel in arresting the Vessel, and therefore has an absolute

defense to Amis’s counterclaim.

                            II. INTRODUCTION AND BACKGROUND

        In order for Amis to prevail on its wrongful arrest counterclaim, it must show that Dry Bulk

acted in bad faith when it arrested the Vessel. However, the evidence produced herein, including

the pre-suit attorney-client communications produced in accordance with the Court’s order (Dkt.

179), establishes that Dry Bulk sought the advice of U.S. counsel before arresting the vessel, and

that Dry Bulk’s counsel advised that a good faith basis existed to proceed with the action under

U.S. law. See, e.g., Ex. A at DB001317 (“I have reviewed the materials and I am of the opinion

that your company has a very colorable right to arrest the vessel in rem…). Even if that advice of

counsel may later prove to have been erroneous (which Dry Bulk does not concede to be the case),

under longstanding maritime law, “the advice of competent counsel, honestly sought and acted


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upon in good faith is alone a complete defense to an action for malicious prosecution.” Frontera

Fruit Co. v. Dowling, 91 F.2d 293, 297 (5th Cir. 1937) (emphasis added). As such, Amis’s

wrongful arrest counterclaim must be dismissed and the monies posted as security for this

counterclaim should be immediately released from the Court’s registry.

         The basic facts are that Dry Bulk was the sub-charterer of the M/V AMIS INTEGRITY,

having chartered1 the Vessel from 24Vision Chartering Solutions, DMCC (“24Vision”). While

the parties dispute the exact timing, on or about July11 or July 12, 2019, the Vessel was withdrawn

by Amis from 24 Vision’s service due to its failure to make timely hire2 payments under the head

charter. (24 Vision had earlier on July 11, 2019, itself wrongfully withdrawn the Vessel from Dry

Bulk’s use.) At the time of this withdrawal, Dry Bulk had already pre-paid hire to 24Vision for

Dry Bulk’s continued use of the Vessel, and the Vessel was in ballast3 en route to a delivery port

for Dry Bulk’s sub-charter of the Vessel to Trithorn Bulk (“Trithorn”). At the time Amis withdrew

the Vessel from 24Vision, Amis had notice of both Dry Bulk’s status as sub-charterer of the Vessel

from 24 Vision and of Dry Bulk’s own sub-charter of the Vessel. As a result of the withdrawal of

the Vessel, Dry Bulk suffered damages in excess of $3,800,000.

         On October 17, 2019, Dry Bulk commenced an in rem action against the Vessel under U.S.

maritime law and had it arrested in Vancouver, Washington. Dkt. 11. Dry Bulk maintains that it

possesses maritime liens against the Vessel for various maritime torts under U.S. maritime law,

including tortious interference, conversion, and unjust enrichment. Dkt. 1. (To be clear, Dry



1
   A charter party is a maritime contract between a vessel owner and charterer for the use of the ship. A time charter
is a maritime contract for the use of a vessel for an agreed period of time.
2
   “Hire” is the money paid by the charterer of a ship to the owner for the use of the vessel.
3
   “In ballast” means the ship was proceeding without any cargo on board.

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Bulk’s arrest of the Vessel was premised on U.S. maritime law, and not English or any other

foreign law.) In response to the in rem action, Amis filed a counterclaim for wrongful arrest,

alleging that Dry Bulk had arrested the vessel in bad faith. Dkt. 46. On August 26, 2020, Dry

Bulk filed a verified amended complaint to add additional defendants. Dkt. 113. Amis filed its

most recent amended answer on September 29, 2020. Dkt. 126.

                            III. SUMMARY JUDGMENT STANDARD

        A party is entitled to summary judgment if the “movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

Civ. P. 56(a). The moving party has the burden of establishing the absence of a genuine dispute

of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986); Devereaux v. Abbey, 263

F.3d 1070, 1076 (9th Cir. 2001) (en banc). If the moving party meets its burden with a properly

supported motion, the burden then shifts to the opposing party to present specific facts that show

there is a genuine issue for trial. Fed. R. Civ. P. 56(e); Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 248 (1986); Auvil v. CBS “60 Minutes”, 67 F.3d 816, 819 (9th Cir. 1995). “Where the record

taken as a whole could not lead a rational trier of fact to find for the non-moving party, there is no

genuine issue for trial.” Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587

(1986) (citation and internal quotation marks omitted).

                             IV. ARGUMENT AND AUTHORITY

        While the Ninth Circuit has not expressly opined on the advice-of-counsel defense in the

context of a vessel arrest, this Court has already “accept[ed] the applicability of Frontera and finds

that Plaintiff is entitled to invoke the advice of its counsel as a defense to Defendant’s wrongful

arrest claim.” Dkt. 179 at p. 5. Further, Amis has itself acknowledged that “Plaintiff is entitled to


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invoke advice of counsel as a defense to the wrongful arrest counterclaim.” Dkt. 177 at p. 5.

Accordingly, this Court’s adoption of Frontera stands as law of the case. See Chinatown

Neighborhood Ass'n v. Harris, 33 F. Supp. 3d 1085, 1093 (N.D. Cal. 2014) (“The law of the case

doctrine holds that ‘a court will generally refuse to reconsider an issue that has already been

decided by the same court or a higher court in the same case.’” (quoting Gonzalez v. Ariz., 677

F.3d 383, 389 n. 4 (9th Cir. 2012))), aff'd, 794 F.3d 1136 (9th Cir. 2015).

        With the threshold issue of the availability of the defense having been settled, Dry Bulk

respectfully submits that the advice-of-counsel defense set forth in Frontera Fruit Co. v. Dowling,

91 F.2d 293 (5th Cir. 1937) acts as a complete bar to Amis’s wrongful arrest counterclaim. Some

85 years ago, the Fifth Circuit in Frontera dismissed a claim for the alleged wrongful arrest of a

vessel, holding as follows:

        The gravamen of the right to recover damages for wrongful seizure or detention of
        vessels is the bad faith, malice, or gross negligence of the offending party. The
        reasons for the award of damages are analogous to those in cases of malicious
        prosecution. The defendant is required to respond in damages for causing to be
        done through the process of the court that which would have been wrongful for him
        to do himself, having no legal justification therefor and acting in bad faith, with
        malice, or through a wanton disregard of the legal rights of his adversary. The
        courts are institutions for the settlement of disputes both as to law and facts. Where
        citizens reasonably disagree concerning their rights, powers, and privileges, the
        doors should be kept open for an orderly determination of their differences. It has
        been held by this court that the advice of competent counsel, honestly sought and
        acted upon in good faith is alone a complete defense to an action for malicious
        prosecution. The same principle controls the case at bar. The claim of the right
        to subrogation based on the advice of its attorney, erroneous though it may have
        been, honestly obtained and reasonably accepted, gave appellant access to the
        process of the court until that claim of right could be adjudicated, and no damages
        can be assessed against it for fairly submitting it for determination.

Id. at 297 (internal citations omitted; emphasis added).




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        Over the intervening years, multiple circuit courts have reaffirmed Frontera’s basic

premise that proof of bad faith or maliciousness is necessary for a ship owner to recover for a claim

of wrongful arrest of a vessel. See, e.g., Indus. Mar. Carriers, LLC v. Dantzler, Inc., 611 F. App'x

600, 603 and 606 (11th Cir. 2015); Cent. Oil Co. v. M/V Lamma-Forest, 821 F.2d 48, 51 (1st Cir.

1987); Ocean Ship Supply, Ltd. v. MV Leah, 729 F.2d 971, 974 (4th Cir. 1984).

        One district court expounded upon the trouble with wrongful arrest claims given the

realities of international maritime trade as follows:

        The maritime doctrine of wrongful arrest is guided by two considerations: on the
        one hand, the right of ship owners to remain secure in their rights to possession; on
        the other, the need to swiftly arrest vessels that may soon flee to the high seas. See
        Indus. Mar. Carriers, LLC v. Dantzler, Inc., 611 Fed. Appx. 600, 602-03 (11th Cir.
        2015). To balance those competing interests, the law provides a procedure to arrest
        vessels ex parte, without a hearing, and vessel owners the chance to vacate such
        arrests at prompt show cause hearings. See id. Within that framework, the right to
        recover damages for the wrongful arrest of a vessel acts as a ward against those
        who might abuse the law's need for haste in choppy situations of the sea. As it has
        developed within our jurisprudence, the right to recover damages for the wrongful
        arrest of a vessel has been limited to cases of bad faith, malice, or gross negligence,
        wherein a frivolous arrest appears to have been brought about with the intention of
        causing harm, akin to a malicious prosecution. It has not applied to arrests
        brought about by mere negligence because the need for haste often results in
        hasty decision-making, and to impose liability for wrongful arrest upon all those
        who, through certain errors, mistakenly cause a vessel to be arrested would be to
        diminish the viability of a procedure designed for haste in the first place. “Thus,
        the plaintiff bears the burden of proving that the attachment was done in bad faith,
        and if the defendant establishes that it honestly relied on the advice of counsel in
        attaching the vessel, then there is no liability.” Dantzler, 611 Fed. Appx. at 603.

Middleton v. M/V Glory Sky I, No. 13-21588-CV, 2016 WL 4923097, at *2 (S.D. Fla. Jan. 8, 2016)

(emphasis added).

        In cases where there may be a “bona fide dispute over the validity of [the] lien” and “the

parties could have legitimately and honestly believed the lien would stand up,” the Fifth Circuit



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instructs that a party has acted in good faith in arresting a vessel. See Casillo Commodities Italia

S.P.A. v. M/V LONG CHEER, No. CV 16-16612, 2017 WL 2804925, at *5 (E.D. La. June 28,

2017) (citing Cardinal Shipping Corp. v. M/S Seisho Maru, 744 F.2d 461, 475 (5th Cir. 1984)).4

          Here, the evidence (some 200+ pages of pre-arrest attorney-client communications

produced in response to Amis’s discovery requests, attached hereto as Ex. A) conclusively

establishes that Dry Bulk sought the advice of competent U.S. counsel (attorney Michael G.

Chalos5) before proceeding with the arrest of the M/V AMIS INTEGRITY in U.S. waters and

based on U.S. law. These communications also establish that Mr. Chalos explicitly advised Dry

Bulk that it possessed a good faith basis to proceed with a vessel arrest, notwithstanding some

challenging legal arguments that might need to be overcome for an ultimate recovery. In this

regard:

              On August 14, 2019, Dry Bulk’s principal, Stavros Tsolakis, contacted
               Mr. Chalos’ law firm to outline the underling dispute in broad terms and inquire
               whether a vessel arrest might be possible in the U.S. Ex. A at DB001304-1306.

              The following day, on August 15, 2019, Mr. Chalos responded by noting that
               “[y]our inquiry raises some very interesting legal issues. Under American law,
               a breach of a maritime contract (i.e. a C/P) creates both a maritime claim and
               right to attach the vessel (under Rule B of the Supplemental Rules for
               Admiralty), and a maritime lien against the vessel in rem which makes the
               vessel subject to arrest under Rule C.” While noting that English law might be
               implicated, Mr. Chalos stated that the “general consensus in US courts is that
               assertion of a maritime claim or lien is procedural in nature (as opposed to
               substantive) and, as such, US law applies to the issue of whether the attachment

4
  Notably, Amis’s counsel should be familiar with the fact that a legitimate dispute regarding the legal basis for a
vessel arrest cannot sustain a wrongful arrest claim. See Chemoil Corp. v. M/V DARYA VISHNU, No. C13-5494 RBL,
2013 WL 6328829 (W.D. Wash. Dec. 5, 2013), where Mr. Oberg represented the defendant vessel in rem, and the
court dismissed the vessel’s wrongful arrest counterclaim, noting, “it is not bad faith for Chemoil to seek to procure
payment through a maritime lien it honestly believes it possesses.” Id. at *3.
5
  Mr. Chalos has more than 40 years’ experience in the practice of maritime law, is a member of the United States
Maritime Law Association (“MLA”) and is a Proctor in Admiralty. See Mr. Chalos’s bio, available at
https://chaloslaw.com/attorneys/michael-g-chalos/, last visited on May 5, 2022. To the extent necessary, Dry Bulk
respectfully requests that the Court take judicial notice of the representations made on Mr. Chalos’ webpage.

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            or arrest is valid. … At the end of the day, if US law were to apply to the
            attachment/arrest, then it doesn’t really matter if English law recognizes a
            maritime claim/lien...” Ex. A. at DB001307-1308.

           On October 3, 2019, Mr. Chalos wrote to Dry Bulk and stated that “I have
            reviewed the materials and I am of the opinion that your company has a very
            colorable right to arrest the vessel in rem…” Ex. A at DB001317.

           Also on October 3, Dry Bulk’s English counsel (Mr. Dominic Ward) wrote Mr.
            Chalos to explain that, under English law, the no-lien clause which may have
            existed in the Amis–24 Vision charter party would not prevent a third party
            from arresting the vessel, and “if the judge in the USA considers that DBS is
            entitled to arrest the vessel for its claim, the fact that the arrest would put
            24Vision in breach of clause 20, and require 24 Vision to secure the claim,
            should not prevent the arrest being issued.” Ex. A at DB001325-1326.

           On October 6, 2019, Mr. Chalos provided Dry Bulk with a draft of the
            Complaint that would eventually be filed, and stated in connection with that
            document that “the legal basis for the Complaint and request arrest of the vessel
            in rem, is that under US law a breach of a C/P for which C/P the vessel is the
            subject, gives rise to a maritime lien against the vessel for such breach, which
            lien can be exercised by an in rem arrest of the vessel. There will be an issue
            as to whether Dry Bulk was (or should have been) aware of the no lien provision
            of the Head charter between Amis Integrity S.A. and 24 Vision, but … we
            should be in a relatively good position to argue to the Court to uphold the arrest.”
            Ex. A at DB001337.

           Also on October 6, Mr. Chalos wrote to Mr. Ward and noted that, while there
            may be some issues with respect to English law, the “argument we will raise
            under US law is that a vessel has an independent liability for breach of a charter
            party which creates a lien that can be enforced by an in rem arrest of such vessel.
            In other words, the vessel, under US law, creates its own lien for which it can
            be held liable. Since an arrest under the Supplemental Admiralty Rules is
            deemed to be procedural in nature, the court will apply US law to such lien and
            will uphold the arrest and demand for security in the first instance.” Ex. A at
            DB001443.

        As the Eleventh Circuit has noted, “[c]lients routinely rely on their attorneys to handle their

legal affairs. Our ‘wrongful arrest’ jurisprudence emphasizes this point by making honest reliance




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on advice of counsel an absolute defense.” Dantzler, 611 Fed. Appx. at 606.6 That is exactly what

happened here. Dry Bulk fully apprised its U.S. counsel of the relevant circumstances underlying

the dispute, the U.S. counsel investigated and vetted potentially problematic issues involving a

conflict of laws, but ultimately concluded and advised that Dry Bulk possessed claims sufficient

to support a Rule C arrest, and U.S. counsel then commenced an action to arrest the Vessel. Dkt.

1. There can be no doubt that Dry Bulk’s conduct leading up to the vessel arrest entitles it to the

safe-harbor of Frontera’s advice-of-counsel defense.

          Dry Bulk’s former counsel advised that Dry Bulk possessed a colorable claim for a vessel

arrest. While Amis’s counsel may dispute that the vessel seizure was proper, even if Amis is

ultimately vindicated on that point (which is not conceded), Dry Bulk cannot rightly be held liable

for damages resulting from that arrest. Simply pressing a losing legal argument cannot support

a wrongful arrest claim against the seizing party. See, e.g., Central Oil Co. v. M/V Lamma–

Forest, 821 F.2d 48, 51 (1st Cir. 1987) (affirming grant of summary judgment for defendant on a

wrongful arrest claim where defendant had attached the plaintiff’s vessel prior to a contractual

payment due date, claiming that it anticipated a breach of contract and feared the vessel would

have departed U.S. waters by the time the payment would be due); Ocean Ship Supply, Ltd. v. MV

Leah, 729 F.2d 971, 974 (4th Cir. 1984) (in attachment action where there was a dispute concerning



6
  See also Middleton v. M/V GLORY SKY, 2017 WL 10718508, at *4 (S.D. Fla. Jan. 5, 2017), report and
recommendation adopted, 2017 WL 10718509 (S.D. Fla. Jan. 19, 2017) (“Those pleadings establish that Plaintiff –
although uncertain about the availability of filing an in rem action against the Glory Sky – believed he had colorable
legal support for his position and relied on the advice of counsel prior to the arrest of the vessel. At worst, Plaintiff's
behavior constitutes mere negligence, which is insufficient to establish bad faith or willful behavior on Middleton's
part.”); Ray Cap. Inc. v. Castellano, 2016 WL 3896515, at *3 (S.D. Ga. July 14, 2016), order vacated on
reconsideration on other grounds, 2016 WL 4154459 (S.D. Ga. Aug. 4, 2016) (“While Defendants have demonstrated
that the prior arrest was improper, they will not be awarded costs, attorney's fees, or damages… Plaintiffs relied on
the advice of counsel in seeking the arrest.” (emphasis added)).

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whether U.S. or Canadian law should apply, there was no bad faith sufficient to support a wrongful

arrest claim despite a later determination that Canadian law applied and the attachment was illegal

under Canadian law).

          With respect to vessel seizures under Supplemental Admiralty Rule C, the Ninth Circuit

has stated:

          [The plaintiff] cannot be held liable for [damages] resulting from having validly
          invoked judicial process by securing [the defendant’s] vessel. “The arrest of a
          vessel in admiralty is an inconvenience to which the owners must submit as one
          caused by the exercise of a legal right on the part of the plaintiff, and unless the
          attachment is mala fide, or by such gross negligence as to amount to bad faith, no
          damages can be recovered for detention caused by such arrest.”

Stevens v. F/V Bonnie Doon, 655 F.2d 206, 209 (9th Cir. 1981) (quoting The Swedish Bark Adolph,

5 F. 114 (S.D.N.Y. 1880).

Here, Dry Bulk has produced clear evidence that the arrest of the M/V AMIS INTEGRITY was

premised on the good faith advice of counsel concerning the application of U.S. law – prima facie

proof under Frontera that there was no bad faith on the part of Dry Bulk. Amis’s counterclaim

for wrongful arrest must therefore be dismissed. Moreover, Dry Bulk respectfully requests that

the Court order that the amounts it was required to post to the Court’s registry as counter-security

for the wrongful arrest claim be promptly disbursed back to Dry Bulk, care of its undersigned

counsel.7

///
///
///



7
  The funds were provided by Tradewind Finance, a company to which Dry Bulk assigned the proceeds of any
recovery in this case. See Dkts. 108 and 112.

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 DATED:           May 13, 2022            Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on May 13, 2022, I electronically filed the foregoing with the Clerk of

the Court using the CM/ECF system, which will send notification of such filing to all associated

counsel.

                                              BY:     s/ Ian M. Christy
                                                      Ian M. Christy, OSB No. 160116




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